Exhibit E
     HILL, FARRER & BURRILL LLP
     James A. Bowles (Bar No. 089383)
 2   Elissa L. Gysi (Bar No. 281338)
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 3   300 South Grand Avenue
     Los Angeles, CA 90071-314 7
 4   Telephone: (213) 620-0460
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 5
     Attorneys for Defendant
 6   MICHAEL STAPLETON ASS'OCIATES, LTD. dba
     MSA SECURITY
 7

 8                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

 9                                FOR THE COUNTY OF SAN DIEGO

10

11   SOLIMAN EID, an individual,                      CASE NO. 37-2017-00029986-CU-OE-CTL

12                              Plaintiff,            DEFENDANT MSA SECURITY'S
13   vs.                                              ANSWER TO FIRST AMENDED
                                                      COMPLAINT
14   MICHAEL STAPLETON ASSOCIATES,
     LTD., dba MSA SECURITY, a Delaware
15   corporation; and DOES 1 through 10,
     inclusive
16
                               Defendants             Complaint Filed: August 15, 2017
17

18

19
            COMES NOW Defendant MICHAEL STAPLETON ASSOCIATES, LTD., dba MSA
20
     SECURITY ("Defendant"), for itself and for no other defendants, and in Answer to Plaintiffs
21
     unverified First Amended Complaint ("F AC") alleges as follows:
22
            Pursuant to §431.30(d) of the California Code of Civil Procedure, Defendant generally
23
     denies each and every allegation contained in Plaintiffs FAC, and denies that Plaintiff and the
24
     putative class members sustained damages by reason of any act, breach or omission of Defendant.
25
            Furthermore, as to each cause of action alleged in the F AC, Defendant alleges the
26
     following affirmative defenses, however, Defendant has not had a reasonable opportunity to
27
     investigate all of the claims and allegations set forth in the FAC, and Defendant therefore reserves
28

                                      ANSWER TO FIRST AMENDED COMPLA!NT




                                             79
                                     the right to waive any affirmative defense asserted in this Answer or to assert any additional and

                                2    applicable affirmative defense as the facts become known:

                                3
                                                                   FIRST AFFIRMATIVE DEFENSE
                                4
                                            The F AC fails to state facts sufficient to constitute a claim for relief against Defendant.
                                5

                                6                                 SECOND AFFIRMATIVE DEFENSE

                                7           The F AC is barred by the doctrines of laches and acquiescence.

                                8
                                                                   THIRD AFFIRMATIVE DEFENSE
                                9
                                            The F AC is barred in whole or in part by the equitable principle of unclean hands.
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                            11                                   FOURTH AFFIRMATIVE DEFENSE
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~~3:~~§                     12              The F AC is barred by the conduct, actions, and inactions of Plaintiff and the putative class
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o115 ~a. ~                  13      members, which constitute an estoppel against any relief sought herein.
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U..l! ll~~                                                         FIFTH AFFIRMATIVE DEFENSE
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                                            The FAC is barred by Plaintiff and the putative class .m embers' own conduct, actions, and
                           16
                                    inactions, which constitute a waiver of any right or claim Plaintiff and the putative class members
                           17
                                    may or might have had in reference to the matters and things alleged in the F AC.
                           18
                           19                                      SIXTH AFFIRMATIVE DEFENSE

                           20               Plaintiff and the putative class members have failed to take reasonable and necessary steps

                           21       to mitigate their damages, if any they have.

                           22
                                                                SEVENTH AFFIRMATIVE DEFENSE
                           23
                                           Any damages suffered by Plaintiff and the putative class members were the sole and
                           24
                                    proximate result of Plaintiff and the putative class members' willful breach of duty in the course
                           25
                                    of their employment, and/or their neglect of their duty or continued incapacity to perform it,
                           26
                                    and/or other breaches of their obligations as employees under the California Labor Code, and
                           27
                                    Defendant is therefore exonerated from any liability to Plaintiff and the putative class members.
                           28
                                                                                    -2-
                                                                    ANSWER TO FIRST AMENDED COMPLAINT




                                                                             80
                              1                                 EIGHTH AFFIRMATIVE DEFENSE
                              2            The FAC is barred by the applicable statutes of limitation, including but not limited to

                              3    Code ofCiv. Proc. §§335.1, 338(a), 338(d), 339(1), 339(3), 340(a) and 343, and Labor Code§

                              4    203.

                              5
                                                                 NINTH AFFIRMATIVE DEFENSE
                              6
                                          The FAC is barred, because any and all conduct of which Plaintiff and the putative class
                              7
                                   members complains and which is attributed to Defendant, was a just and proper exercise of
                              8
                                   management discretion undertaken for fair and honest reasons and regulated by good faith under
                              9
                                  the circumstances then existing.
                          10

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                          11                                     TENTH AFFIRMATIVE DEFENSE
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ii:                      12               If Plaintiff and the putative class members were subjected to any of the wrongful conduct
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                         13       alleged in the F AC, which Defendant denies, Defendant responded to all matters brought to its
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       s~ 1,ld~          14       attention and took all appropriate steps to correct and prevent such conduct as required by law.
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                                                              ELEVENTH AFFIRMATIVE DEFENSE
                         16
                                          If Plaintiff and the putative class members were subjected to any of the wrongful conduct
                         17
                                  alleged in the FAC, which Defendant denies, Plaintiff and the putative class members failed to
                         18
                                  timely advise Defendant or otherwise place Defendant on notice of said conduct.
                         19

                         20                                   TWELFTH AFFIRMATIVE DEFENSE

                         21               The FAC fails to state facts which would support an award of statutory damages and/or

                         22       attorneys' fees.

                         23
                                                            THIRTEENTH AFFIRMATIVE DEFENSE
                         24
                                          The F AC is barred and Plaintiff and the putative class members should be denied any
                         25
                                  relief whatsoever, to the extent they failed to advise Defendant of any errors in the time records or
                         26
                                  wage statements, of any missed meal or rest periods, or of any unreimbursed expenses or costs.
                         27

                         28
                                                                                  -3-
                                                                   ANSWER TO FIRST AMENDED COMPLAINT




                                                                           81
                                                            FOURTEENTH AFFIRMATIVE DEFENSE

                              2           The F AC, and claims for relief, including without limitation, claims for wages, damages,

                              3    restitution, penalties and attorneys' fees, are barred and should be denied, because Defendant

                              4    acted at all times in good faith and in a reasonable manner in attempting to comply with

                              5    California and Federal wage and hour laws, and any amounts not promptly paid were subject to a

                              6    good faith dispute.

                              7
                                                             FIFTEENTH AFFIRMATIVE DEFENSE
                              8
                                          The FAC is barred by the De Minimis Doctrine and Plaintiff and the putative class
                              9
                                  members should be denied any relief whatsoever, because any wages which were not paid to
                          IO
                                  Plaintiff and the putative class members for hours worked or overtime were de minimis.
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o5      IB    c.   ~      13              The FAC is barred as to certain of the putative aggrieved employees by the doctrine of
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        ~ !& g           14       accord and satisfaction/settlement and release, and/or the effect of applicable settlements and
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s:            0          15       release agreements with Defendant.

                         16
                                                           SEVENTEENTH AFFIRMATIVE DEFENSE
                         17
                                          The FAC fails to state facts which would support an award against Defendant of any
                         18
                                  statutory or civil penalty provided for by applicable Labor Code Sections or other California
                         19
                                  statutes. Defendant's conduct was not a willful violation of any wage order or labor law, thus
                         20
                                  permanent injunctive relief is not allowed.
                         21
                         22                                EIGHTEENTH AFFIRMATIVE DEFENSE

                         23              The FAC and each purported cause of action are barred as to certain of the putative class

                         24       members by the doctrine of accord and satisfaction/settlement and release, and the effect of

                         25       applicable settlements and release agreements with Defendant.

                         26
                         27
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                                                                  ANSWER TO FIRST AMENDED COMPLAINT




                                                                          82
                                                              NINETEENTH AFFIRMATIVE DEFENSE

                              2            The F AC fails to state facts which would support any restitution of any specific amount of

                              3    money to Plaintiff or any person on whose behalf Plaintiff claims to act as a representative.

                              4    Defendant's conduct was not a willful violation of any wage order or labor law, and the overtime

                              5    requirements of California's Labor Code and IWC Wage Orders specify only a method of

                              6    compensation and computation, not a specific amount or rate of wages, whether straight time or

                              7    overtime, and do not create a right to be paid any particular amount of money. Thus, even ifthe

                              8    method of computation and compensation used by Defendant could be shown to technically

                              9    violate those overtime requirements, restitution would nonetheless be barred, because Defendant

                          10      could not be shown to have unlawfully retained or withheld any amount of money or wages that

0..                       11      was earned by or owed to Plaintiff or the putative aggrieved employees. Defendant has paid
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ii::   ;: ~ z ~          12       Plaintiff and the putative aggrieved employees all wages lawfully due for all work performed.
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                 u                                            TWENTIETH AFFIRMATIVE DEFENSE
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          w                               The F AC, and each cause of action therein, are barred as to certain putative class members
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                                  who have signed employment arbitration agreements, which require final and binding arbitration
                         16
                                  of the instant claims. These putative class members are required to submit disputes arising out of
                         17
                                  their employment to final and binding arbitration in accordance with their signed arbitration
                         18
                                  agreements. As a result, the Court has no jurisdiction to decide certain putative class members'
                         19
                                  claims, and this action must be stayed or dismissed pending completion of the arbitration
                         20
                                  proceedings required by those arbitration agreements. This answering Defendant does not waive
                         21
                                  the right to compel arbitration and will file a motion to compel arbitration as soon as the issue of
                         22
                                  class certification is resolved.
                         23
                         24                                 TWENTY-FIRST AFFIRMATIVE DEFENSE

                         25               The F AC fails to state facts which would support Plaintiffs' claims that proceeding on a

                         26       representative basis under PAGA is superior to other available legal, administrative or arbitration

                         27       proceedings. Class or representative litigation would be unmanageable and violate Defendaht's

                         28       due process rights because of the multitude of individual factual issues involved. The cost of
                                                                                   -5-
                                                                     ANSWER TO FIRST AMENDED COMPLAINT




                                                                            83
                                    class or representative litigation would be substantial compared to the almost nonexistent costs of

                               2    Labor Commissioner administrative proceedings. The putative aggrieved employees can elect to

                               3    proceed before the Labor Commissioner without hiring and paying for an attorney; even if the

                               4    administrative decision is appealed for de nova trial to a Superior Court, the Labor Commissioner

                               5    appoints an attorney to represent the employee at no charge to the employee. The Labor Code

                               6    provides for a panoply of discovery methods similar to litigation in the court system, including

                               7    subpoena of witnesses and documents, yet at far lower cost and far less burden to either party, and

                               8    also provides for a wide range of available remedies, including each and every remedy under the
                           .9       Labor Code sought by the Plaintiffs' FAC. See Labor Code §§ 92-106. Each putative aggrieved

                           10      employee could file an administrative claim and proceed before the local Labor Commissioner

a.                         11      office in his or her area, rather than being forced to be subject to a PAGA claim in San Diego
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                          12       County, which would be miles away for the putative aggrieved employees. Alternatively, any
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                          13       putative aggrieved employees who wanted to proceed by civil action, would still remain able to
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                          14       initiate such a civil action in his or her local Superior Court with costs and procedures less than or
J          ~~~
...J       ~        "'g   15       the same as those involved in a class-type proceeding, yet with far less burden for purposes of
:c
                          16       traveling for discovery and trial, and with the ability to select his or her own counsel. Thus,

                          17       individual arbitration, administrative claims and/or individual civil actions are superior to PAGA

                          18       action proceedings for the putative aggrieved employees and the types of putative claims alleged

                          19       by Plaintiff.

                          20
                                                          TWENTY-SECOND AFFIRMATIVE DEFENSE
                          21
                                           The FAC fails to state facts which would support Plaintiffs claims that proceeding on a
                          22
                                   representative basis under PAGA on behalf of all of Defendant's canine handlers in California
                          23
                                   adequately protects the due process rights of the putative aggrieved employees. The PAGA
                          24
                                   procedures do not provide adequate safeguards to ensure that other putative aggrieved employees
                          25
                                   are provided notice of the proceedings, an opportunity to be heard or participate therein, or an
                          26
                                   opportunity to exclude themselves from the class of represented employees. Furthermore, there is
                          27
                                   no way to ensure that the interests of the other putative aggrieved employees are adequately
                          28
                                                                                   -6-
                                                                    ANSWER TO FIRST AMENDED COMPLAINT




                                                                            84
                                   represented by Plaintiff.
                              2
                                                           TWENTY-THIRD AFFIRMA'fIVE DEFENSE
                              3
                                          The F AC fails to state facts which would support Plaintiffs claim that this lawsuit is
                              4
                                   suitable for representation of other aggrieved employees. On the contrary, the claims, if any, of
                              5
                                  the other putative aggrieved employees, raise numerous individual issues which substantially
                              6
                                  predominate over and outweigh any common questions.
                              7
                              8                           TWENTY-FOURTH AFFIRMATIVE DEFENSE

                              9           Plaintiff and the putative aggrieved employees Plaintiff seeks to represent by their

                          10      conduct, statements and admissions are equitably estopped from asserting the claims against

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                          11      Defendant set forth by the FAC.
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                                                           TWENTY-FIFTH AFFIRMATIVE DEFENSE
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          w                       if any, and are therefore barred from recovering damages by way of the PAC. Plaintiff and the
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                                  putative class members failed to report any purported unpaid wages, missed rest periods or
                         16
                                  unreimbursed expenses to management.
                         17
                         18                                TWENTY-SIXTH AFFIRMATIVE DEFENSE

                         19              Defendant is not liable to Plaintiff or the putative aggrieved employees Plaintiff seeks to

                         20       represent because Defendant's business practices allegedly giving rise to the claims and causes of

                         21       action set forth in the FAC were not unfair, unlawful or fraudulent, but wen~ instead justified by

                         22       the legitimate business needs of Defendant.

                         23
                                                        TWENTY-SEVENTH AFFIRMATIVE DEFENSE
                         24
                                         The Court lacks jurisdiction over the Complaint and each cause of action.
                         25
                         26
                         27
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                                                                                 -7-
                                                                  ANSWER TO FIRST AMENDED COMPLAINT




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                           1                             TWENTY-EIGHTH AFFIRMATIVE DEFENSE

                           2            Defendant has engaged the law firm of Hill, Farrer & Burrill, LLP to represent it in

                           3   defense of Plaintiff's frivolous, unfounded and unreasonable complaint, and Defendant is thereby

                           4   entitled to an award of reasonable attorneys' fees pursuant to Government Code Section 12965

                           5   and Code of Civil Procedure Section 128. 7 upon judgment thereon in their favor.

                           6
                                                                     PRAYER FOR RELIEF ON FAC
                           7
                                        WHEREFORE, Defendant prays for judgment as follows:
                           8
                                        1.       That Plaintiff's FAC and each cause of action therein be dismissed with prejudice;
                           9
                                        2.       That Plaintiff takes nothing by his F AC;
                          10
                                        3.       That Defendant be awarded its costs incurred herein, including its actual or
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..J ..         8" r;:~         reasonable attorneys' fees as provided by statute or contract; and
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a::~ :5.., ~ $                          4.       That the Court order such other and further relief for Defendant as the Court
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                          16   DATED: November20,2017                               HILL, FARRER & BURRILL LLP

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                               HFB 1843692. l M8892003
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                                                                  ANSWER TO FIRST AMENDED COMPLAINT




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                      1                                            PROOF OF SERVICE

                      2                      I, Lavenia Forte, declare:

                      3                    I am a resident of the state of California and over the age of eighteen years, and
                           not a party to the within action; my business address is Hill, Farrer & Burrill LLP, One California
                      4.   Plaza, 37th Floor, 300 South Grand Avenue, Los Angeles, California 90071-3147. On December
                           4, 2017 I served the within documents:
                      5
                           DEFENDANT MSA SECURITY'S ANSWER TO FIRST AMENDED COMPLAINT
                      6

                      7                      by transmitting via facsimile the document(s) listed above to the fax number(s) set
                                  D          forth below on this date before 5 :00 p.m.
                      8
                                             by placing the document(s) listed above in a sealed envelope with postage thereon
                      9
                                             fully prepaid, in the United States mail at Los Angeles, California addressed as set
                     10                      forth below.

                     11                      by causing personal delivery by Delivery Service of the document(s) listed above
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                                  D          to the person(s) at the address( es) set forth below.
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~~:'.S..,  .. s                              by placing the document(s) listed above in a sealed                envelope and
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                     13           D          affixing a pre-paid air bill, and causing the envelope to be delivered to a Delivery
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                                             Service agent for delivery.
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               en                            by personally delivering the document(s) listed above to the person(s) at the
x        0     g     15
                                  D          address( es) set forth below.
                     16

                     17                      Corbett H. Williams                                   Attorneys for Soliman Eid
                                             LAW OFFICES OF CORBETT H. WILLIAMS
                     18                      23276 South Pointe Drive, Suite 216
                                             Laguna Hills, CA 92653
                     19                      cwilliams@chwilliamslaw.com
                                             Phone: 949-679-9909
                     20
                                          I am readily familiar with the firm's practice of collection and processing
                     21    correspondence for mailing. Under that practice il would be deposited with the U.S. Postal
                           Service on that same day with postage thereon fully prepaid in the ordinary course of business. I
                     22    am aware that on motion of the party served, service is presumed invalid if postal cancellation
                           date or postage meter date is more than one day after date of deposit for mailing in affidavit.
                     23
                                         I declare that I am employed in the office of a member of the bar of this court at
                     24    whose direction the service was made.

                     25

                     26
                                                                                               LaV enia Forte
                     27

                     28    HFB 1819843 .1 M8892003




                                                                     87
 Forte, Lavenia H.

 From:                              noreply@onelegal.com
 Sent:                              Monday, December 04, 2017 10:34 AM
 To:                                Forte, Lavenia H.; Bowles, James A.
 Subject:                           eFiling order submitted for Soliman Eid vs Michael Stapleton Associates LTD [IMAGED] :
                                    order #11562554



 Dear LaVenia,

 Your eFiling order# 11562554 has been submitted to the court.

 What happens next

       •   The clerk will review your eFiling and you'll receive an update when the review is complete.
       •   Please be aware that you may receive this notification after 24 hours, or, in some cases, a week after
           your eFiling was received, depending on the court's capacity. This may occur after a court eFiling
           deadline, but it does not mean there was an issue with your order.

Summary of your eFiling order

For your records, please see the details of your order below:

       •   Case title: Soliman Eid vs Michael Stapleton Associates LTD [IMAGED]
       •   Court transaction #: 2421257



       •   Order type: eFiling
       •   Order#: 11562554
       •   Submitted: 12/4/2017 10:33 AM PT



    •      Jurisdiction: Superior Court of California, San Diego County
    •      Location: Central
    •      Case category: Civil - Unlimited
    •      Case type: Other employment
    •      Case#: 37-2017-00029986-CU-OE-CTL
    •      Lead document: Amended Answer

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If you have questions, please check out our FA Os for answers, or email us at support@onelegal.com.

Thank you. We appreciate your business.
                                                            1




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Sincerely,
One Legal



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                                                        2




                                                       89
 1                                         PROOF OF SERVICE

 2                  I, Josefina Perez, declare:
 3                   I am a resident of the state of California and over the age of eighteen years, and
     not a party to the within action; my business address is Hill, Farrer & Burrill LLP, One California
 4   Plaza, 3 7th Floor, 300 South Grand A venue, Los Angeles, California 90071-314 7. On December
     7, 2017, I served the within documents:
 5
                                 NOTICE OF REMOVAL
 6

 7                  by transmitting via facsimile the document(s) listed above to the fax number(s) set
           D        forth below on this date before 5 :00 p.m.
 8
 9                  by placing the document(s) listed above in a sealed envelope with postage thereon
                    fully prepaid, in the United States mail at Los Angeles, California addressed as set
10                  forth below.

11                  by causing personal delivery by               of the document(s) listed above to the
           D        person(s) at the address(es) set forth below.
12
                    by placing the document(s) listed above in a sealed                envelope and
13         D        affixing a pre-paid air bill, and causing the envelope to be delivered to
14                  a              agent for delivery.

                    by personally delivering the document(s) listed above to the person(s) at the
15
           D        address( es) set forth below.
16

17                  Corbett H. Williams                                  Attorneys for Soliman Eid
                    LAW OFFICES OF CORBETT H. WILLIAMS
18                  23276 South Pointe Drive, Suite 216
                    Laguna Hills, CA 92653
19                  cwilliams@chwilliamslaw.com
                    Phone: 949-679-9909
20
                    I am readily familiar with the firm's practice of collection and processing
21   correspondence for mailing. Under that practice it would be deposited with the U.S. Postal
     Service on that same day with postage thereon fully prepaid in the ordinary course of business. I
22   am aware that on motion of the party served, service is presumed invalid if postal cancellation
     date or postage meter date is more than one day after date of deposit for mailing in affidavit.
23
                   I declare that I am employed in the office of a member of the bar of this court at
24   whose direction the service was made.

25

26

27

28

                                                  PROOF OF SERVICE


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